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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION
                                   www.flsb.uscourts.gov


In re:
 YURI LYUBARSKY and                                     Case No. 18-16659-LMI
 OLGA LYUBARSKY,                                        Chapter 7

        Debtors.
 ______________________________/

                                  CERTIFICATE OF SERVICE

         I CERTIFY that a true and correct copy of the Order Granting Ex-Parte Application for

Approval of Employment of Michael P. Dunn, Esq. and Dunn Law. P.A. as Counsel to Marcia T. Dunn,

Chapter 7 Trustee [D.E. 17], was served on this 21st day of June, 2018, via First Class U.S. mail upon

the Debtor(s) and scheduled secured creditors:

 Yuri Lyubarsky and                           Secured Creditors:
 Olga Lyubarsky, Debtors                      None
 375 Poinciana Island Dr., Unit 1135
 North Miami Beach, Fl 33160

         I CERTIFY that a true and correct copy of the foregoing was served via Notice of Electronic

Filing (CM/ECF) on this 21st day of June, 2018, upon all registered users in this case, including:

        Marcia T Dunn mdunn@dunnlawpa.com,
         mdunn@ecf.epiqsystems.com;acastro@dunnlawpa.com;slebron@dunnlawpa.com
        Michael P Dunn michael.dunn@dunnlawpa.com,
         rbasnueva@dunnlawpa.com;nnayor@dunnlawpa.com;tyler.stull@dunnlawpa.com
        Leonid Nerdinsky lnerdinsky@nerdinskylaw.com,
         lnerdinsky@gmail.com;nerdinskylr67621@notify.bestcase.com
        Office of the US Trustee USTPRegion21.MM.ECF@usdoj.gov

                                                 DUNN LAW, P.A.
                                                 Counsel for Marcia T. Dunn, Trustee
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                                                 By:    /s/ Michael P. Dunn Esq.
                                                        Michael P. Dunn, Esq.
                                                        Florida Bar No. 100705
